              Case 1:08-cr-00212-AWI Document 266 Filed 12/23/09 Page 1 of 2


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 7
 8                                UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10                                                *****
11   UNITED STATES OF AMERICA,                     )       Case No CR-08-0212 OWW
                                                   )
12                                                 )       EX PARTE APPLICATION FOR
                                                   )       AN ORDER TO ALLOW THE
13                          Plaintiffs,            )       DEFENSE TO QUOTE VERBATIM
                                                   )       SEALED COLLOQUY BETWEEN THE
14   vs.                                           )       COURT, DEFENSE COUNSEL, AND
                                                   )       THE DEFENDANT IN ORDER TO
15   SUKHRAJ DHALIWAL                              )       PROVIDE NOTICE TO THE
                                                   )       GOVERNMENT OF WHAT IS BEING
16                          Defendant.             )       ARGUED IN DEFENDANT’S MOTION
                                                           FOR NEW TRIAL AND ORDER
17
                                              APPLICATION
18
            Defendant Sukhraj Dhaliwal is moving for a new trial through recently appointed counsel
19
     W. Scott Quinlan, your declarant. I have ordered and reviewed pertinent trial and motion
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     transcripts of Mr. Dhaliwal’s case. The hearing on the Quintero motion held on January 5, 2009
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     explored the potential conflict of interest caused by defense counsel Carl Faller’s attorneys fees
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     being paid by a co-defendant’s business. The in camera hearing was sealed. The in camera
23
     hearing on September 21, 2009 during which Mr. Faller was relieved as counsel for Mr.
24
     Dhaliwal was also sealed.
25
            By order of the Court the sealed transcripts of those in camera hearings were provided to
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     me. I am making a motion for new trial and am quoting verbatim from portions of the January 5,
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     2009 colloquy between the Court, defense counsel Faller, and the Defendant Mr. Dhaliwal. I am
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              Case 1:08-cr-00212-AWI Document 266 Filed 12/23/09 Page 2 of 2


 1   also referring in general to facts set forth by Mr. Faller in the September 21, 2009 sealed
 2   transcript. I believe that these quoted and referred-to portions do not disclose any confidential
 3   communication or any attorney-client or privileged matter. Quoting from that January 5, 2009
 4   sealed transcript is intended to provide notice to the government of the factual basis for some of
 5   Mr. Dhaliwal’s arguments in support of the new trial motion. Referring to some of the matters
 6   disclosed by Mr. Faller is intended to support some of the arguments referred to and to inform
 7   the government of the factual basis for those arguments.
 8          I declare under penalty of perjury that the foregoing is true and correct.
 9          Executed this 21 day of December, 2009, at Fresno, California.
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11                                                         Respectfully submitted,
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14                                                          /s/ W. Scott Quinlan
                                                           W. Scott Quinlan, Attorney for Defendant
15                                                         SUKHRAJ DHALIWAL
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18          Upon review of the ex parte application to allow use of portions of sealed transcripts
19   pertaining to Defendant Dhaliwal that were provided to his counsel, and GOOD CAUSE
20   APPEARING THEREFORE, IT IS HEREBY ORDERED that counsel for Mr. Dhaliwal may
21   disclose in his motion for new trial matters otherwise sealed from disclosure set forth in the
22   January 5, 2009 and September 21, 2009 transcript of proceedings pertaining to his client,
23   Sukhraj Dhaliwal.
24   IT IS SO ORDERED.
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26   Dated: December 22, 2009                              /s/ OLIVER W. WANGER
                                                           Senior United States District Court Judge
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